Case 1:16-cv-00077-NT Document16 Filed 05/06/16 Pagei1ofi PagelD#: 73

United States District Court
District of Maine BANGOR, MAINE
RECEIVED AND FILE
Moti Dismiss Without Prejudice, ber: 1:16-cv-000
otion to Dismiss Without Prejudice, case number cv ANN May -b P EOL
Magistrate Judge John C. Nivison ,
BY a
ig Pe
My name is David Trask and | am the plaintiff in the above referenced mutter “artet consulting
competent legal counsel, | am formally moving to have the above referenced case dismissed
without prejudice. Opposing counsel have waived the requirement that | serve them
individually with this motion and have expressed that they have no objections to this.

Respectfully submitted;

David E. Trask
5-6°1G

David E. Trask

503 East River Road

Skowhegan, Maine 04976

#207-431-4343

e-mail <sgtdtrask@yahoo.com>
